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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

SYED ALI,                                             )
                                                      )      Case No. 1:15-cv-06178
               Plaintiff,                             )
                                                      )      Judge: Sharon Johnson Coleman
v.                                                    )
                                                      )      Magistrate Judge: Daniel G. Martin
PORTFOLIO RECOVERY ASSOCIATES, LLC                    )
and BLITT & GAINES, P.C., and FREEDMAN                )
ANSELMO LINDBERG, LLC n/k/a                           )
ANSELMO LINDBERG OLIVER, LLC,                         )
                                                      )
               Defendants.                            )


     MOTION FOR PROTECTIVE ORDER AGAINST THIRD PARTY DISCLOSURE

       Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC (“PRA”) by its attorneys,

David M. Schultz, Avanti D. Bakane and Raven E. Burke of Hinshaw & Culbertson LLP, and for its

Motion for Entry of a Specialized Protective Order, states as follows:

       1.      On April 25, 2016, the Court signed and entered a comprehensive Confidentiality

Order agreed to by the parties. Dkt. #65.

       2.      Also on April 25, 2016, the Court consolidated several cases: "15-cv-11582; 16-cv-

01581; and 16-cv-3872 shall be reassigned to this Court and consolidated with the instant case, 15-

cv-6178." Dkt. #66.

       3.      On May 12, 2016, Judge Schenkier ordered Defendants to respond to the

outstanding discovery requests propounded by Plaintiff by May 19, 2016 in the instant case, 15-cv-

6178. Dkt. #71.

       4.      Defendant is preparing its discovery responses to be served upon Plaintiff. These

responses reference documents and contain personal identifiers and financial information for a

third-party individual which is not the Plaintiff. These documents are responsive to Plaintiff's

propounded requests and relevant to the account at issue in the Complaint.


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        5.      Plaintiffs have not yet filed their consolidated amended complaint.            Defendant

anticipates that additional documentation containing personal identifiers and financial information

for a third party individual will be responsive to any discovery requests Plaintiffs serve in the now

consolidated cases.

        6.      Defendant seeks to avoid any third-party disclosure of the aforementioned

documentation, as its responses contain confidential material and information of another individual

other than Plaintiff, and the entered Confidentiality Order does not directly address this situation.

        7.      Defendant requests that this Court grant it leave to produce documentation

containing personal identifiers and financial information for a third-party individual subject to the

Confidentiality Order entered by this Court.

        8.      WHEREFORE, Defendant, PORTFOLIO RECOVERY ASSOCIATES, LLC

respectfully requests that this Court grant it leave to produce documentation containing personal

identifiers and financial information for a third-party individual subject to the Confidentiality Order

entered by this Court, and for such further relief as this court deems appropriate and just.



                                                       Respectfully submitted,

                                                       PORTFOLIO RECOVERY               ASSOCIATES,
                                                       LLC, Defendant

                                                       /s/ David M. Schultz
                                                       David M. Schultz
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